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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 1:20-CV-20961-KMW

   SILVA HARAPETI,
   and other similarly situated individuals,

             Plaintiff(s),

   vs.

   CBS TELEVISION STATIONS, INC.,
   a Foreign Profit Corporation, et al.

          Defendants.
   ________________________________________/

                                     AMENDED COMPLAINT
                              (OPT-IN PURSUANT TO 29 U.S.C § 216(B))

            Plaintiff, SILVA HARAPETI (“Plaintiff”), and other similarly-situated individuals, by and

   through the undersigned counsel, hereby sues Defendants, CBS BROADCASTING, INC., f/k/a

   GROUP W TELEVISION STATIONS, INC. doing business as CBS TELEVISION STATIONS

   and/or CBS TELEVISION STATIONS GROUP; and CBS TELEVISION STATIONS, INC.,

   (collectively, “Defendants”), and in support avers as follows:

                                      GENERAL ALLEGATIONS

         1. This is an action by the Plaintiff and other similarly-situated individuals for damages for

            unpaid wages and overtime due to misclassification of employee status under the Fair

            Labor Standards Act, 29 U.S.C. §§ 201-219 (“FLSA”), and for unlawful, retaliatory

            discharge in violation of the FLSA.

   2.       This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 29 U.S.C. § 216.
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   3.   Plaintiff was at all times relevant to this action, and continues to be, a resident of Miami-

        Dade County Florida, within the jurisdiction of this Honorable Court. Plaintiff is a covered

        employee for purposes of the FLSA.

   4.   Defendant, CBS BROADCASTING, INC., f/k/a GROUP W TELEVISION STATIONS,

        INC., doing business as CBS TELEVISION STATIONS and/or CBS TELEVISION

        STATIONS GROUP is a Foreign Profit Corporation doing business in Miami-Dade

        County, Florida, which jointly employed Plaintiffs (including opt-in Plaintiffs), which

        controlled Defendant, CBS TELEVISION STATIONS, INC. where Plaintiff worked for

        Defendants and at all times material hereto was and is engaged in interstate commerce.

   5.   Defendant, CBS TELEVISION STATIONS, INC., is a Foreign Profit Corporation doing

        business in Miami-Dade County, Florida, where Plaintiff worked for Defendant, and at all

        times material hereto was and is engaged in interstate commerce.

   6.   Declaratory, injunctive, legal and equitable relief sought pursuant to the laws set forth

        above together with attorneys’ fees, costs and damages.

   7.   All conditions precedent for the filing of this action before this Court have been previously

        met, including the exhaustion of all pertinent administrative procedures and remedies.

                     FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

   8.   Plaintiff worked for Defendant as a non-exempt employee from on or about February 2011

        up until March 17, 2018.

   9.   At all times material hereto, Plaintiff and Defendants were engaged in an implied

        agreement whereby Plaintiff would be employed by Defendants and that Plaintiff would

        be properly paid as provided for by, and not in violation of, the laws of the United States

        and the State of Florida.
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   10.   Throughout Plaintiff’s employment, Plaintiff worked more than forty (40) hours per week.

   11.   Plaintiff was not paid at the proper overtime rate for hours worked in excess of forty (40)

         per week, as proscribed by the laws of the United States and the State of Florida.

   12.   Additionally, throughout Plaintiff’s employment, Plaintiff worked numerous hours for

         which she received no compensation whatsoever, in violation of the laws of the United

         States and the State of Florida.

   13.   Throughout Plaintiff’s employment, Plaintiff made several inquiries regarding Defendants’

         improper misclassification of Plaintiff as a “freelancer” to Defendants’ Special Projects

         Executive Producer, Cari Hernandez (“Ms. Hernandez”), and to Defendant’s News

         Director, Liz Roldan (“Ms. Roldan”).

   14.   Plaintiff began working for Defendants as a freelance television journalist, covering news

         stories across South-Florida.

   15.   Throughout her time working as a freelance journalist, Plaintiff was paid on a per diem

         basis at a rate of two-hundred and ten ($210.00) dollars per day, regardless of the number

         of hours she worked on any given day.

   16.   Plaintiff worked for Defendants as a per diem freelancer in 2011, 2012, 2013, and 2015.

         Each time she was hired as a freelancer, Plaintiff was told she would be considered for a

         full-time reporter position.

   17.   Although Plaintiff was at all times qualified for the position of a full-time reporter, Plaintiff

         was always passed over for the position . When Plaintiff expressed her frustrations with

         Ms. Roldan about being passed over each time, she was simply told the full-time position

         “was not available to her.”
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   18.   In late 2017, Ms. Roldan informed Plaintiff that an opening would be available for her as

         an on-air journalist on Sunday mornings. Ms. Roldan also informed Plaintiff that she could

         work as a producer the remaining four days of the week.

   19.   However, Ms. Roldan told Plaintiff that there would be no additional pay for her change in

         position and responsibilities. Essentially, denying her the ability to receive full-time pay

         and employee benefits.

   20.   Plaintiff was also told by Ms. Roldan that in order to be given this position she would need

         to “commit to work at CBS” and “figure out where her priorities were” if she wanted to

         continue working at the company.

   21.   Plaintiff advised Ms. Roldan that she was classified as a freelance producer, but was

         working more than sixty (60) hours a week as an on-air journalist, without the proper

         classification, rate of pay, or benefits.

   22.   Plaintiff was misclassified as an exempt producer or exempt reporter when she was used

         and worked as a producer/reporter (hereinafter “Freelance Television Journalist,” therefore

         denying Plaintiff higher pay and benefits such as health insurance, disability, life insurance,

         sick pay, personal days, vacation pay, double pay for holidays, etc.

   23.   As a result of continually asking to be classified as a full-time employee, Plaintiff was

         retaliated against by being placed on the weekend shift indefinitely. For a period of more

         than eight (8) months, Plaintiff was scheduled on a split shift, making her the only

         employee whose days off were split.

   24.   At all material times hereto, Defendants and/or their agents exercised a large amount of

         control over Plaintiff and her work and made sure that Plaintiff was on call and ready to

         work at all times.
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   25.    An example of this control can be seen when Plaintiff was covering Hurricane Irma on or

          about September 2017. Plaintiff’s work schedule had her working twelve (12) hours on,

          and twelve (12) hours off, with no days off, until it was decided otherwise by Defendants.

   26.    Other similarly situated employees received overtime, double time and overnight pay

          during this time, while Plaintiff only received her per diem pay.

   27.    The coverage and services that Plaintiff provided throughout her seven years working for

          Defendants was at all times an integral part of Defendants’ business.

   28.    Throughout Plaintiff’s employment with Defendants, Defendants exerted a large amount

          of control over Plaintiff’s work. Defendants and/or its agents forced Plaintiff into shutting

          down any opportunities for profit through her own personal marketing, education, and

          production business.

   29.    Plaintiff has retained the undersigned counsel in order that her rights and interests may be

          protected. Plaintiff has thus become obligated to pay the undersigned a reasonable

          attorney’s fee.

                                               COUNT I
                Wage & Hour Federal Statutory Violation against CBS Broadcasting, Inc.
         f/k/a Group W. Television Stations, Inc. now doing business as CBS Television Stations
                                 and/or CBS Television Stations Group

   30.    Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 29

          of this complaint as if set out in full herein.

   31.    This action is brought by Plaintiff and other similarly-situated individuals to recover from

          Defendant unpaid minimum wage and overtime compensation, as well as an additional

          amount as liquidated damages, costs, and reasonable attorney’s fees under the provisions

          of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29

          U.S.C. § 207 (a)(1) states, “ No employer shall employ any of his employees… for a work
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         week longer than 40 hours unless such employee receives compensation for his

         employment in excess of the hours above-specified at a rate not less than one and a half

         times the regular rate at which he is employed.”

   32.   Jurisdiction is conferred on this Court by Title 29 U.S.C. § 216(b).

   33.   At all times pertinent to this Complaint, Defendant operated as an organization which sells

         and/or markets its services and/or goods to customers from throughout the United States

         and also provides its services for goods sold and transported from across state lines of other

         states, and the Defendant obtains and solicits funds from non-Florida sources, accepts

         funds from non-Florida sources, uses telephonic transmissions going over state lines to do

         its business, transmits funds outside the State of Florida, and otherwise regularly engages

         in interstate commerce, particularly with respect to its employees.

   34.   Upon information and belief, the annual gross revenue of the Defendant was at all times

         material hereto in excess of $500,000 per annum, and, by virtue of working in interstate

         commerce, otherwise satisfies the FLSA’s coverage requirements.

   35.   By reason of the foregoing, the Defendant is and was, during all times hereafter mentioned,

         an enterprise engaged in commerce or in the production of goods for commerce as defined

         in §§ 3 (r) and 3(s) of the FLSA, 29 U.S.C. § 203(r) and 203(s). Defendant’s business

         activities involve those to which the Fair Labor Standards Act applies. The Plaintiffs’ work

         for the Defendant likewise affects interstate commerce.

   36.   Plaintiffs seeks to recover for unpaid wages accumulated from the date of hire and/or from

         3 (three) years from the date of the filing of this complaint.

   37.   At all times material hereto, the Defendant failed to comply with Title 29 U.S.C. §§ 201-

         219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Plaintiff performed services and
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         worked in excess of the maximum hours provided by the FLSA but no provision was made

         by the Defendant to properly pay her at the rate of time and one half for all hours worked

         in excess of forty hours (40) per workweek as provided in the FLSA.

   38.   Defendant knew and/or showed reckless disregard of the provisions of the FLSA

         concerning the payment of overtime wages as required by the Fair Labor Standards Act

         and remains owing Plaintiff these unpaid wages since the commencement of Plaintiffs’

         employment with Defendant as set forth above. As such, Plaintiff is entitled to recover

         double damages.

   39.   Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

         Law, to inform employees of their federal rights to overtime and minimum wage payments.

                                        COUNT II
         Wage & Hour Federal Statutory Violation against CBS Television Stations, Inc.

   40.   Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 29

         of this complaint as if set out in full herein.

   41.   This action is brought by Plaintiff and other similarly-situated individuals to recover from

         Defendant unpaid minimum wage and overtime compensation, as well as an additional

         amount as liquidated damages, costs, and reasonable attorney’s fees under the provisions

         of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29

         U.S.C. § 207 (a)(1) states, “ No employer shall employ any of his employees… for a work

         week longer than 40 hours unless such employee receives compensation for his

         employment in excess of the hours above-specified at a rate not less than one and a half

         times the regular rate at which he is employed.”

   42.   Jurisdiction is conferred on this Court by Title 29 U.S.C. § 216(b).
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   43.   At all times pertinent to this Complaint, Defendant operated as an organization which sells

         and/or markets its services and/or goods to customers from throughout the United States

         and also provides its services for goods sold and transported from across state lines of other

         states, and the Defendant obtains and solicits funds from non-Florida sources, accepts

         funds from non-Florida sources, uses telephonic transmissions going over state lines to do

         its business, transmits funds outside the State of Florida, and otherwise regularly engages

         in interstate commerce, particularly with respect to its employees.

   44.   Upon information and belief, the annual gross revenue of the Defendant was at all times

         material hereto in excess of $500,000 per annum, and, by virtue of working in interstate

         commerce, otherwise satisfies the FLSA’s coverage requirements.

   45.   By reason of the foregoing, the Defendant is and was, during all times hereafter mentioned,

         an enterprise engaged in commerce or in the production of goods for commerce as defined

         in §§ 3 (r) and 3(s) of the FLSA, 29 U.S.C. § 203(r) and 203(s). Defendant’s business

         activities involve those to which the Fair Labor Standards Act applies. The Plaintiffs’ work

         for the Defendant likewise affects interstate commerce.

   46.   Plaintiffs seeks to recover for unpaid wages accumulated from the date of hire and/or from

         3 (three) years from the date of the filing of this complaint.

   47.   At all times material hereto, the Defendant failed to comply with Title 29 U.S.C. §§ 201-

         219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Plaintiff performed services and

         worked in excess of the maximum hours provided by the FLSA but no provision was made

         by the Defendant to properly pay her at the rate of time and one half for all hours worked

         in excess of forty hours (40) per workweek as provided in the FLSA.
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   48.    Defendant knew and/or showed reckless disregard of the provisions of the FLSA

          concerning the payment of overtime wages as required by the Fair Labor Standards Act

          and remains owing Plaintiff these unpaid wages since the commencement of Plaintiffs’

          employment with Defendant as set forth above. As such, Plaintiff is entitled to recover

          double damages.

   49.    Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

          Law, to inform employees of their federal rights to overtime and minimum wage payments.

   WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:

          A. Adjudge and decree that Defendant has violated the FLSA and has done so willfully,

              intentionally and with reckless disregard for Plaintiffs’ rights;

          B. Award Plaintiff actual damages in the amount shown to be due for unpaid minimum

              wages and overtime compensation for hours worked in excess of forty (40) weekly,

              with interest; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees; and

          E. Grant Plaintiff such additional relief as the Court deems just and proper under the

              circumstances.

                                           COUNT III
                  FLSA Retaliation Violation against CBS Television Stations, Inc.

   50.    Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1 through 29

          of this complaint as if set out in full herein.

   51.    29 U.S.C. § 215(a)(3) of the FLSA states that it is a violation to “discharge or in any other

          manner discriminate against any employee because such employee has filed any complaint

          or instituted or caused to be instituted any proceeding under or related to this Act, or has
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          testified or is about to testify in any such proceeding, or has served or is about to serve on

          an industry committee.”

   52.    Defendant’s conduct as set forth above constitutes a violation of the FLSA’s anti-retaliation

          provision.

   53.    The motivating factor that caused Plaintiff’s adverse employment action as described

          above was Plaintiff’s complaint regarding not being properly paid for all hours worked.

   54.    The Defendant’s conduct was in direct violation of the FLSA, and, as a direct result,

          Plaintiff has been damaged.

   WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

          A. Adjudge and decree that Defendant has violated the FLSA and has done so willfully,

             intentionally and with reckless disregard for Plaintiff’s rights;

          B. Enter judgment against the Defendant for all back wages from the date of discharge to

             the present date and an equal amount of back wages as liquidated damages, and;

          C. Enter judgment against the Defendant for all front wages until Plaintiff becomes sixty-

             five (65) years of age; and

          D. Enter an award against Defendant and award Plaintiff compensatory damages for

             mental anguish, personal suffering, and loss of enjoyment of life;

          E. Award Plaintiff the costs of this action, together with reasonable attorneys’ fees; and

          F. Grant Plaintiff such additional relief as the Court deems just and proper under the

             circumstances.
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                                             JURY DEMAND

   Plaintiff demands a trial by jury of all issues triable as of right by jury.

   Dated: December 1, 2020

                                                           Respectfully submitted,

                                                           /s/ Peter M. Hoogerwoerd
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